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                                                              July 7, 2025

VIA ECF
Honorable Michael E. Farbiarz
United States District Judge
District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street, Newark, New Jersey 07101
       Re:     Khalil v. Trump, et al., No. 2:25-cv-1963 (MEF) (MAH)
Dear Judge Farbiarz,
         As ordered by the Court during the status conference on July 7, 2025, Petitioner Mahmoud
Khalil respectfully submits a copy of the Motion to Reconsider filed with the Immigration Judge
(“IJ”) on July 3, 2025. See Exhibit A. This filing was made by Mr. Khalil’s immigration counsel
as a continuation of the motion initially submitted to the IJ on June 17—after this Court entered
its preliminary injunction. Petitioner was served with the IJ’s denial of the June 17 motion on June
30. ECF 332-2 at 2. In an abundance of caution, and in light of Respondents’ June 27 email to
Petitioner’s counsel regarding their position on the scope of the preliminary injunction, ECF 332-
3, and their July 3 letter to this Court, ECF 337, Mr. Khalil’s immigration counsel filed the renewed
motion promptly on July 3, asking the immigration judge to revisit, inter alia, her June 20 decisions
(filed under seal with ECF 332) to uphold the removal charge based on the Secretary of State’s
Determination and to deny asylum on that same basis, as well as her failure to schedule an
evidentiary hearing on the 8 U.S.C. § 1227(a)(1)(H) waiver.

                                                   Respectfully submitted,

                                                   /s/ Naz Ahmad

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